         Case 2:20-cv-04803-JMG Document 18 Filed 10/06/23 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

SECURITIES AND EXCHANGE COMMISSION, :
                  Plaintiff,               :
                                           :
                  v.                       :               Civil No. 2:20-cv-04803-JMG
                                           :
JOEL STOHLMAN, et al.,                     :
                  Defendants.              :
__________________________________________


                                            ORDER

         AND NOW, this 6th day of October, 2023, it appearing to the court that the above-
captioned case, which was placed in civil suspense on March 31, 2023, is still unable to proceed
to trial without delay for reasons which are beyond the court’s control, and in accordance with
Section 1(c) of the Civil Suspense Docket Standing Order of June 24, 1975,

       IT IS HEREBY ORDERED that this case shall remain in suspense for no more than six
months from the date of this Order unless continued in suspense status by further order of the
court.

        IT IS FURTHER ORDERED that, within six months of the date of this Order, the
parties must provide a status update regarding the continued presence or absence of the reasons
why this case is unable to proceed to trial without delay.




                                                    BY THE COURT:



                                                     /s/ John M. Gallagher
                                                    JOHN M. GALLAGHER
                                                    United States District Court Judge
